Case 2:19-cv-09796-RGK-JPR Document 30-1 Filed 05/21/20 Page 1 of 6 Page ID #:190



    1
    2
    3
    4
    5
    6
    7
    8                       UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
   10 ROLEX WATCH U.S.A., INC.,                 Case No. 19-cv-9796-RGK-(JPRx)
   11              Plaintiff,
                                                [PROPOSED] STIPULATED
   12        vs.                                JUDGMENT BY CONSENT AND
                                                PERMANENT INJUNCTION AS TO
   13                                           DEFENDANT REFERENCE
      REFERENCE WATCH LLC d/b/a LA
                                                WATCH, LLC D/B/A LA
   14 CALIFORNIENNE; COURTNEY                   CALIFORNIENNE
      ORMOND; and LESZEK GARWACKI,
   15
              Defendants.
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
Case 2:19-cv-09796-RGK-JPR Document 30-1 Filed 05/21/20 Page 2 of 6 Page ID #:191



    1        Pursuant to the parties’ Stipulation for Entry of Judgment and Permanent
    2 Injunction Pursuant to Settlement Agreement as to Defendant Reference Watch,
    3 LLC d/b/a La Californienne (“Defendant”),
    4        IT IS ORDERED, ADJUDGED AND DECREED, AS FOLLOWS:
    5        1.    The Court has personal jurisdiction over each of the parties to this
    6 action. The Court also has subject matter jurisdiction over this action pursuant to
    7 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a).
    8        2.    Plaintiff, Rolex Watch U.S.A., Inc. (“Rolex”) is a New York
    9 Corporation having a place of business at 665 Fifth Avenue, New York, New York
   10 10022.
   11        3.    Defendant is a California limited liability company having a place of
   12 business at 5915 ½ Carlton Way, Los Angeles, CA 90028.
   13        4.    On November 15, 2019, Rolex filed this lawsuit against Defendant for
   14 Trademark Counterfeiting under 15 U.S.C. § 1114, Trademark Infringement under
   15 15 U.S.C. § 1114, and False Designation of Origin, False Descriptions, and Unfair
   16 Competition under 15 U.S.C. § 1125. On January 15, 2019, Defendant filed its
   17 Answer to Rolex’s Complaint.
   18        5.    Rolex is the exclusive distributor and warrantor of Rolex watches in
   19 the United States.
   20        6.    Rolex is the owner of the following trademarks registered in the U.S.
   21 Patent and Trademark Office (hereinafter collectively referred to as the “Rolex
   22 Registered Trademarks”):
   23 Trademark              Reg. No.    Reg. Date    Goods
   24 ROLEX                  0,101,819   1/12/1915    Watches, clocks, parts of watches
   25                                                 and clocks, and their cases.
      OYSTER                 0,239,383    3/6/1928    Watches, movements, cases,
   26
                                                      dials, and other parts of watches.
   27 PRESIDENT              0,520,309   1/24/1950    Wristbands and bracelets for
                                                      watches made wholly or in part or
   28

                                               1
Case 2:19-cv-09796-RGK-JPR Document 30-1 Filed 05/21/20 Page 3 of 6 Page ID #:192



    1 Trademark              Reg. No.       Reg. Date   Goods
    2                                             plated with precious metals, sold
    3                                             separately from watches.
                             0,657,756 1/28/1958 Timepieces of all kinds and parts
    4 (Crown Design)                              thereof.
    5 DATEJUST               0,674,177 2/17/1959 Timepieces and parts thereof.
      GMT-MASTER             0,683,249 8/11/1959 Watches.
    6
      COSMOGRAPH             0,733,081 6/19/1962 Watches and chronometers.
    7 SEA-DWELLER            0,860,527 11/19/1968 Watches, clocks and parts
    8                                             thereof.
        MILGAUSS             0,875,616 8/26/1969 Watches [and clocks,] and parts
    9                                             thereof.
   10 OYSTER                 1,105,602 11/7/1978 Watches and parts thereof.
      PERPETUAL
   11 YACHT-MASTER           1,749,374      1/26/1993   Watches.
   12 SUBMARINER             1,782,604      7/20/1993   Watches.
      ROLEX                  1,960,768      3/5/1996    Watches.
   13 DAYTONA
   14 DAYTONA                2,331,145 3/21/2000 Watches.
      EXPLORER II            2,445,357 4/24/2001 Watches.
   15
      EXPLORER               2,518,894 12/18/2001 Watches.
   16 AIR-KING               2,953,542 5/17/2005 Watches and parts thereof.
   17 GMT-MASTER II          2,985,308 8/16/2005 Watches and parts thereof.

   18         7.    The Rolex Registered Trademarks are in full force and effect and are
   19 incontestable pursuant to 15 U.S.C. § 1065.
   20         8.    Defendant manufactures, offers for sale and sells altered Rolex
   21 watches that bear one or more of the Rolex Registered Trademarks.
   22         9.    Defendant’s altered Rolex watches include refinished dials (some with
   23 diamonds) from which one or more of the Rolex Registered Trademarks have been
   24 removed and reapplied.      Specifically, during the dial refinishing process the
   25 CROWN DESIGN trademark emblem is removed from the dial, the dial surface is
   26 stripped of all paint and all printed Rolex Registered Trademarks (e.g. ROLEX,
   27 OYSTER PERPETUAL, and DATEJUST), new paint is reapplied to the dial
   28
                                                 2
        JUDGMENT BY CONSENT AND PERMANENT                                  Case No. 19-cv-9796
        INJUNCTION
Case 2:19-cv-09796-RGK-JPR Document 30-1 Filed 05/21/20 Page 4 of 6 Page ID #:193



    1 surface, the Rolex Registered Trademarks are reprinted on the dial, and the
    2 CROWN DESIGN trademark emblem (sometimes repainted) is reattached to the
    3 dial. On some of the watches, Defendant also paints its name “La Californienne”
    4 and/or other embellishments onto the dial. Hereafter any Rolex watches having (i)
    5 a refinished dial as described herein, (ii) non-genuine parts or components, (iii) new
    6 coatings, or (iv) any other modified parts or components from which any of the
    7 Rolex Registered Trademarks have been removed and reapplied, that have been
    8 stripped and repainted or refinished, or to which other words or embellishments
    9 have been applied, are referred to as “Altered Rolex Watches”.
   10         10.    Defendant has operated, owned, and/or used online accounts to
   11 advertise, promote and offer for sale its Altered Rolex Watches, identified as
   12 follows:           Website   account:   lacalifornienne.com;    Instagram      account:
   13 instagram.com/la_californienne;                   Facebook                     account:
   14 facebook.com/lacaliforniennewatchco (“Defendant’s Websites”).
   15         11.    Defendant is not now, nor has it ever been, associated, affiliated, or
   16 connected with, or endorsed or sanctioned by, Rolex.
   17 NOW, THEREFORE, IT IS FURTHER ORDERED, ADJUDGED, AND
   18 DECREED, AS FOLLOWS:
   19         A.     Final judgment is entered in favor of Rolex and against Defendant on
   20 Rolex’s claims for: (i) Trademark Counterfeiting under 15 U.S.C. § 1114, (ii)
   21 Trademark Infringement under 15 U.S.C. § 1114, and (iii) False Designation of
   22 Origin, False Descriptions, and Unfair Competition under 15 U.S.C. § 1125.
   23         B.     Upon the entry of this Judgment, Defendant and its officers, agents,
   24 servants, employees, and those persons acting in concert or participation with
   25 Defendant shall be permanently enjoined from:
   26               i.     Using any of the Rolex Registered Trademarks or any
   27                      reproduction, counterfeit, copy or colorable imitation of the
   28
                                                3
        JUDGMENT BY CONSENT AND PERMANENT                                     Case No. 19-cv-9796
        INJUNCTION
Case 2:19-cv-09796-RGK-JPR Document 30-1 Filed 05/21/20 Page 5 of 6 Page ID #:194



    1                     Rolex Registered Trademarks to identify any goods or the
    2                     rendering of any services not authorized by Rolex, including,
    3                     but not limited to using the Rolex Registered Trademarks or any
    4                     reproduction, counterfeit, copy or colorable imitations of the
    5                     Rolex    Registered   Trademarks    in   connection    with      the
    6                     advertisement, promotion, offering for sale, or sale of Altered
    7                     Rolex Watches;
    8              ii.    Engaging in any course of conduct likely to cause confusion,
    9                     deception, or mistake, or dilute the distinctive quality of the
   10                     Rolex Registered Trademarks;
   11             iii.    Using a false description or representation including words or
   12                     other symbols tending to falsely describe or represent
   13                     Defendant’s Altered Rolex Watches or its services as being
   14                     those of Rolex or sponsored by or associated with Rolex and
   15                     from offering such goods and services in commerce, including
   16                     using Defendant’s name or any other unauthorized marking in
   17                     association with any watch bearing the Rolex Registered
   18                     Trademarks;
   19             iv.     Using or continuing to use the Rolex Registered Trademarks or
   20                     trade names in any variation thereof on Defendant’s Websites,
   21                     the Internet (either in the text of a website, or as a keyword,
   22                     search word, metatag, or any part of the description of the site)
   23                     or in any promotion or advertising in connection with Altered
   24                     Rolex Watches or any goods or services not authorized by
   25                     Rolex;
   26              v.     Providing any warranty services or otherwise repairing or
   27                     servicing any watch previously sold by Defendant that would
   28
                                                4
        JUDGMENT BY CONSENT AND PERMANENT                                    Case No. 19-cv-9796
        INJUNCTION
Case 2:19-cv-09796-RGK-JPR Document 30-1 Filed 05/21/20 Page 6 of 6 Page ID #:195



    1                      violate the terms of this injunction, including, but not limited to,
    2                      performing any modifications or refinishing services as
    3                      described in Paragraph 9 above (although Defendant may
    4                      continue to provide warranty-related services, not precluded by
    5                      the above); and
    6              vi.     Effecting any assignments or transfers, forming any new entities
    7                      or associations, or utilizing any other device for the purpose of
    8                      circumventing or otherwise avoiding the prohibitions set forth
    9                      herein.
   10         C.     Notwithstanding the foregoing, if asked, Defendant can advise that
   11 Defendant’s Altered Rolex Watches were formerly vintage Rolex watches, now
   12 modified.
   13         D.     That Defendant, within ten (10) days of the entry of this Judgment,
   14 shall take all steps necessary to remove from Defendant’s Websites, or any other
   15 website containing content posted by Defendant, whether or not owned or operated
   16 by Defendant, all text offering for sale Altered Rolex Watches.
   17         E.     The parties shall be subject to the jurisdiction of this Court in
   18 connection with any dispute relating to enforcing the terms of this Final Judgment
   19 and Permanent Injunction.
   20         F.     Each party shall bear their own attorney’s fees and costs.
   21
   22         IT IS SO ORDERED.
   23
   24 Dated:_________________                      _______________________________
                                                   R. GARY KLAUSNER
   25
                                                   United States District Court Judge
   26
   27
   28
                                                 5
        JUDGMENT BY CONSENT AND PERMANENT                                         Case No. 19-cv-9796
        INJUNCTION
